                    Case 18-16865       Doc 17     Filed 07/17/18        Page 1 of 4



                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND

IN RE:

DANIELLE L ROSS                                                 *              Case No:
                                                                             18-16865 TC
                                                                *
                            Debtor
                                                                            Chapter 13
*    *    *    *             *       *        *         *      *     *        *    *       *
DANIELLE L ROSS                                                *

                            Movant                             *
vs
                                                               *
ALLY BANK
                                                               *

                            Respondents                        *

*    *        *     *   *    *      *     *       *     *      *     *      *    *     *   *     *

             MOTION TO DETERMINE SECURED STATUS OF CLAIM
     AND MODIFY RATE OF INTEREST AND ADEQUATE PROTECTION PAYMENT


         Pursuant to Bankruptcy Rule 3012 and 11 USC Section 506,

1322(b) the Debtor by her attorney, Edward C. Christman, and

Christman & Fascetta, LLC., files this Motion to Determine Secured

Status of Claim and respectfully states:

         1.       That on May 21, 2018 debtor commenced a case in the Court

seeking relief under Chapter 13 of the Bankruptcy Code.

         2.       That the debtor’s 2017 Dodge Journey has a perfected lien

held     by       the   Respondent       in       the       amount   of     $41,171.45     and       a

contractual interest rate of 17.21%.                            The contract was entered

into April 27, 2017.             At the time of the filing of this Motion, a

proof of claim has been filed by Respondent, claim number 1.

         3.       That the debt falls within the 910 day rule and the

debtor wishes to modify to pay the balance due at a reduced

interest rate.
              Case 18-16865     Doc 17   Filed 07/17/18   Page 2 of 4




     4.     The Debtor objects to the contract rate of interest of

17.21% as being unreasonable and excessive and believes that the

6.0% interest rate as proposed in the Chapter 13 Plan is a fair

rate of return in the present market.

     5.     The Debtor believes that an adequate protection payment

in the amount of $400.00 per month as proposed in the Chapter 13

Plan is a fair rate.

     WHEREFORE, the Debtor prays this Honorable Court:

            1.    Enter    an    Order    determining       that,       pursuant   to

Sections 506 and 1322(b) of the Bankruptcy Code and Bankruptcy

Rule 3012, the Respondent’s lien is to be paid at the balance due

in the amount of $41,171.45; and

            2.   Enter an Order providing a reduced rate of interest

on the allowed secured claim pursuant to the Chapter 13 Plan; and

            3.    Enter an Order providing an adequate protection

payment on the allowed secured claim pursuant to the Chapter 13

Plan; and

            4.   For such other and further relief as may be just.


                                            /s/ Edward C. Christman _
                                            Edward C. Christman
                                            Christman & Fascetta, LLC
                                            810 Gleneagles Court
                                            Suite 301
                                            Towson, Maryland 21286
                                            (410) 494-8388




                          CERTIFICATE OF SERVICE
            Case 18-16865   Doc 17   Filed 07/17/18   Page 3 of 4



          I hereby certify that on this 17th day of July, 2018, a
copy of the foregoing Notice of Hearing, Motion to Determine
Secured Status of Debt and proposed Order was mailed by first
class mail, postage prepaid to the following:


Timothy Branigan, Trustee
9891 Broken Land Parkway, Ste. 301
Columbia, Maryland 21046
Chapter 13 Trustee

Ally Bank
PO Box 130424
Roseville, MN 55113-0004
Respondent

Ally Bank
PO Box 78367
Phoenix, AZ 85062-8367
Respondent

Ally Servicing LLC
Attn: Mayhoua Xiong, Bankruptcy Agent
4000 Lexington Avenue N Ste. 100
Shoreview, MN 55126
Proof of Claim filer for respondent

Ally Bank
6925 Union Park Center, STe. 435
Midvale, UT 84047
Principal Office for respondent

Ally Bank
c/o The Corporation Trust Incorporated
2405 York Road, Ste. 201
Lutherville Timonium, MD 21093-2264
Resident Agent

Ally Servicing, LLC
c/o The Corporation Trust Incorporated
2405 York Road, Ste. 201
Lutherville Timonium, MD 21093-2264
Resident Agent

Ally Servicing, LLC
1209 Orange Street
Wilmington, DE 19801
Principal Office

                                       /s/ Edward C. Christman
                                       Edward C. Christman
            Case 18-16865   Doc 17   Filed 07/17/18   Page 4 of 4




     I hereby certify that on this 17th day of July, 2018, a copy
of the foregoing Notice of Hearing, Motion to Determine Secured
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class mail, postage prepaid to the following:

Ally Bank
c/o The Corporation Trust Incorporated
2405 York Road, Ste. 201
Lutherville Timonium, MD 21093-2264
Resident Agent


                                       /s/Edward C. Christman       _
                                       Edward C. Christman
